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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

  EMERGENCY PHYSICIANS OF ST.                        Civil Action No. 09-cv-6244-WJM-MF
  CLARE’S, LLC, MERCER BUCKS
  ORTHOPEDICS, PC, and PASCACK                       CERTIFICATION OF SERVICE
  EMERGENCY SERVICES,
                                                     Motion Date: April 19, 2010
  On behalf of themselves and all others similarly   Oral Argument Requested
  situated,

                Plaintiffs,                          [Filed Electronically]
  v.

  PROASSURANCE CORPORATION,
  PROASSURANCE CASUALTY COMPANY,
  and PROASSURANCE
  INDEMNITY COMPANY, INC.,

                Defendants.
Case 2:09-cv-06244-WJM-MF           Document 27-1       Filed 04/12/10     Page 2 of 2 PageID: 362




         Michael Dinger, of full age, does hereby certify and declare as follows:

         1.      I am an associate of the firm of Stern & Kilcullen, LLC and counsel to

  defendants ProAssurance Corporation, ProAssurance Casualty Company, and ProAssurance

  Indemnity Company, Inc.

         2.      I hereby certify that on April 12, 2010, I caused copies of defendants’ Reply brief

  and this Certification of Service to be served via electronic filing on the Clerk of the Court and

  on all counsel of record.

         3.      I hereby certify that on April 12, 2010, I caused one set of copies of the above

  documents to be served via federal express on counsel for plaintiffs.

         4.      I hereby certify that on April 12, 2010, I caused one set of courtesy copies of the

  above documents to be delivered via federal express to the Chambers of the Honorable William

  J. Martini, U.S.D.J.

         I certify that the foregoing statements made by me are true. I am aware that if any of the

  foregoing statements made by me are willfully false, I am subject to punishment.



  Dated: April 12, 2010
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                                               Roseland, New Jersey 07068
                                               Telephone: 973-535-1900

     _                                         By: /s/ Michael Dinger
     _                                                 Michael Dinger




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